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                    UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MISSOURI
                         SOUTHEASTERN DIVISION
                                 §    Chapter 11
 In re:                          §
                                 §    Case No. 20-43597-399
 BRIGGS & STRATTON               §
 CORPORATION, et al.,            §    (Jointly Administered)
                                 §
           Debtors.              §    Hearing Date: October 12, 2022
                                 §    Hearing Time: 9:30 a.m. (Central Time)
                                 §    Hearing Location: Courtroom 5 North
                                 §    111 S. 10th St., St. Louis, MO 63102

       AMENDED NOTICE OF PLAN ADMINISTRATOR’S APPLICATION FOR AN
            ORDER PURSUANT TO 11 U.S.C. § 502(c) ESTIMATING THE
                  GENERAL UNSECURED CLAIM VALUE OF
                 PROOFS OF CLAIM NUMBERED 466 AND 468

        THIS IS A MOTION TO ESTIMATE AND/OR AN OBJECTION TO YOUR CLAIM(S).
        THE OBJECTING PARTY IS ASKING THE COURT TO SET THE AMOUNT OF THE
        CLAIM(S) THAT YOU FILED IN THIS BANKRUPTCY CASE.
        IF YOU CHOOSE TO RESPOND, A WRITTEN RESPONSE MUST BE FILED WITH
        THE CLERK OF COURT, U.S. BANKRUPTCY COURT, 111 SOUTH TENTH STREET,
        4TH FLOOR, ST. LOUIS, MISSOURI 63102, AND A COPY SERVED UPON COUNSEL
        TO THE PLAN ADMINISTRATOR, (A) HALPERIN BATTAGLIA BENZIJA, LLP, 40
        WALL STREET, 37TH FLOOR, NEW YORK, NEW YORK 10005 (ATTN: JULIE DYAS
        GOLDBERG, ESQ. AND CARRIE E. ESSENFELD, ESQ.) AND (B) CARMODY
        MACDONALD P.C., 120 S. CENTRAL AVENUE, SUITE 1800, ST. LOUIS, MISSOURI
        63105 (ATTN: THOMAS H. RISKE, ESQ.), SO THAT THE RESPONSE IS RECEIVED
        NO LATER THAN 11:59 P.M. (PREVAILING CENTRAL TIME) ON OCTOBER 5,
        2022.
        FAILURE TO FILE A RESPONSE TIMELY MAY RESULT IN THE COURT
        GRANTING THE RELIEF REQUESTED PRIOR TO THE HEARING DATE. YOU
        SHOULD READ THIS NOTICE AND THE ACCOMPANYING MOTION CAREFULLY
        AND DISCUSS THEM WITH YOUR ATTORNEY, IF YOU HAVE ONE.

                               Important Information Regarding the Application

                1.      Grounds for the Application. By this Application, the Plan Administrator,
 on behalf of the Wind-Down Estates of the Debtors, is seeking to estimate your claim(s) for
 distribution purposes on the grounds more fully set forth in the Application.




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                                        Responding to the Application

                2.      Parties Required to File a Response. If you disagree with the relief
 requested in the Application filed with respect to any of your claims, you may file a response (each,
 a “Response”) with the Court in accordance with the procedures described below and appear at
 the Hearing (as defined herein).

                     3.        Response Contents. Each Response should contain the following (at a
 minimum):
                                  a. a caption stating the name of the Court, the name of the Debtors, the
                                     case number, and the Objection and claim or claims within the
                                     Application to which the Response is directed;
                                  b. a concise statement setting forth the reasons why the Court should
                                     not grant the relief requested in the Application with respect to such
                                     claim(s), including the factual and legal bases upon which you rely
                                     in opposing the Application;
                                  c. copies of documentation or other evidence of your claim (not
                                     previously filed with proof of such claim) on which your Response
                                     is based (excluding confidential, proprietary, or other protected
                                     information, copies of which must be provided to the counsel to the
                                     Plan Administrator, subject to appropriate confidentiality
                                     constraints, if any); and
                                  d. the following contact information:
                                         (i) your name, address, telephone number, and email address or
                                              the name, address, telephone number, and email address of
                                              your attorney or designated representative to whom the
                                              attorneys for the Plan Administrator should serve a reply to
                                              the Response, if any; or
                                         (ii) the name, address, telephone number, and email address of
                                              the party with authority to reconcile, settle, or otherwise
                                              resolve the objection on your behalf (to the extent different
                                              from the information detailed in paragraph 3(d)(i) above).

                4.    Response Deadline. Your Response must be filed with the Court and
 served so as to be actually received by 11:59 p.m. (Central Time) on October 5, 2022 (the
 “Response Deadline”).

                5.     Failure to Respond. A Response that is not filed and served in accordance
 with the procedures set forth herein may not be considered by the Court at the Hearing. Absent
 an agreement with the Plan Administrator resolving the Application on consent, failure to
 file and serve timely a Response as set forth herein and appear at the Hearing may result in
 the Court granting the relief requested in the Application without further notice or hearing.
 Upon entry of an order, you will be served with a notice of entry, and a copy, of the order.




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                                         Hearing on the Application

                 6.     Date, Time, and Location. If necessary, a hearing (the “Hearing”) on the
 Application will be held on October 12, 2022 at 9:30 a.m. (Central Time) in the United States
 Bankruptcy Court for the Eastern District of Missouri, 5th Floor, North Courtroom, Thomas
 F. Eagleton United States Courthouse, 111 South Tenth Street, St. Louis, Missouri. Such
 Hearing may be adjourned from time to time in these chapter 11 cases in the Plan Administrator’s
 sole discretion. You must attend the Hearing if you disagree with the Application and have
 filed a Response. If you file a Response in accordance with the response procedures herein, but
 such Response is not resolved prior to the Hearing, and you appear at the Hearing, the Application
 may be heard at the Hearing or adjourned to a subsequent hearing in the Plan Administrator’s sole
 discretion. If a subsequent hearing is determined to be necessary, the Plan Administrator will file
 with the Court and serve you with a notice of the subsequent hearing (the date of which will be
 determined in consultation with the affected claimant(s)).

                                           Additional Information

                 7.     Questions or Information. Copies of the pleadings (collectively,
 the “Pleadings”) filed in these chapter 11 cases are available at no cost at the Debtors’ case website
 http://www.kccllc.net/Briggs. You may also obtain copies of any of the Pleadings filed in these
 chapter 11 cases for a fee at the Court’s website at https://pcl.uscourts.gov/pcl/. A login
 identification and password to the Court’s Public Access to Court Electronic Records (“PACER”)
 are required to access this information and can be obtained through the PACER Service Center at
 http://www.pacer.psc.uscourts.gov.

                                            Reservation of Rights

 NOTHING IN ANY APPLICATION OR NOTICE IS INTENDED OR SHALL BE
 DEEMED TO CONSTITUTE (I) AN ADMISSION AS TO THE VALIDITY OF ANY
 PREPETITION CLAIM AGAINST A DEBTOR; (II) A WAIVER OF ANY PARTY’S
 RIGHT TO DISPUTE ANY PREPETITION CLAIM ON ANY GROUNDS; (III) A
 PROMISE OR REQUIREMENT TO PAY ANY PREPETITION CLAIM; (IV) AN
 IMPLICATION OR ADMISSION THAT ANY PARTICULAR CLAIM IS OF A TYPE
 SPECIFIED OR DEFINED IN THE MOTION OR ANY ORDER GRANTING THE
 RELIEF REQUESTED BY THE MOTION; (V) A REQUEST OR AUTHORIZATION TO
 ASSUME ANY PREPETITION AGREEMENT, CONTRACT, OR LEASE PURSUANT
 TO SECTION 365 OF THE BANKRUPTCY CODE; OR (VI) A WAIVER OF THE PLAN
 ADMINISTRATOR’S RIGHTS UNDER THE BANKRUPTCY CODE OR ANY OTHER
 APPLICABLE LAW.




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 Dated: September 21, 2022
        St. Louis, Missouri

                                                  Respectfully submitted,

                                                  CARMODY MACDONALD P.C.


                                                  /s/ Robert E. Eggmann
                                                  Robert E. Eggmann, #37374MO
                                                  Christopher J. Lawhorn, #45713MO
                                                  Thomas H. Riske, #61838MO
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                                                  Local Counsel to the Plan Administrator
                                                  -and-

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                                                  Counsel to the Plan Administrator




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